Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 1 of 14 PageID #:4




                                                                    EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 2 of 14 PageID #:5




                                                                    EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 3 of 14 PageID #:6




                                                                    EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 4 of 14 PageID #:7




                                                                    EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 5 of 14 PageID #:8




                                                                    EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 6 of 14 PageID #:9




                                                                    EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 7 of 14 PageID #:10




                                                                     EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 8 of 14 PageID #:11




                                                                     EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 9 of 14 PageID #:12




                                                                     EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 10 of 14 PageID #:13




                                                                     EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 11 of 14 PageID #:14




                                                                     EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 12 of 14 PageID #:15




                                                                     EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 13 of 14 PageID #:16




                                                                     EXHIBIT A
Case: 1:09-cv-04546 Document #: 1-2 Filed: 07/28/09 Page 14 of 14 PageID #:17




                                                                     EXHIBIT B
